USCA4 Appeal: 23-1078   Doc: 84        Filed: 04/04/2023   Pg: 1 of 2


                                                                    FILED: April 4, 2023

                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

                                     ___________________

                                        No. 23-1078 (L)
                                        (2:21-cv-00316)
                                     ___________________

        B.P.J., by her next friend and mother; HEATHER JACKSON

                    Plaintiffs - Appellants

        v.

        WEST VIRGINIA STATE BOARD OF EDUCATION; HARRISON COUNTY
        BOARD OF EDUCATION; WEST VIRGINIA SECONDARY SCHOOL
        ACTIVITIES COMMISSION; W. CLAYTON BURCH, in his official capacity as
        State Superintendent; DORA STUTLER, in her official capacity as Harrison
        County Superintendent

                    Defendants - Appellees

        and

        THE STATE OF WEST VIRGINIA; LAINEY ARMISTEAD

                    Intervenors - Appellees

        and

        TREVOR PROJECT; TRANSGENDER WOMEN ATHLETES; UNITED
        STATES OF AMERICA; NATIONAL WOMEN'S LAW CENTER AND 51
        ADDITIONAL ORGANIZATIONS; STATE OF NEW YORK; AMERICAN
        ACADEMY OF PEDIATRICS; AMERICAN MEDICAL ASSOCIATION;
        FOUR ADDITIONAL HEALTH CARE ORGANIZATIONS; ATHLETE ALLY;
        CURRENT AND FORMER PROFESSIONAL, OLYMPIC AND
        INTERNATIONAL ATHLETES IN WOMENS SPORTS; NATIONAL
        WOMEN'S SOCCER LEAGUE PLAYERS ASSOCIATION; WOMEN'S
USCA4 Appeal: 23-1078     Doc: 84        Filed: 04/04/2023    Pg: 2 of 2



        SPORTS FOUNDATION; DISTRICT OF COLUMBIA; STATE OF HAWAII;
        STATE OF CALIFORNIA; STATE OF COLORADO; STATE OF
        CONNECTICUT; STATE OF DELAWARE; STATE OF ILLINOIS; STATE OF
        MAINE; STATE OF MARYLAND; STATE OF MASSACHUSETTS; STATE
        OF MICHIGAN; STATE OF MINNESOTA; STATE OF NEW JERSEY; STATE
        OF OREGON; STATE OF RHODE ISLAND; STATE OF VERMONT; STATE
        OF WASHINGTON

                      Amici Supporting Appellants

                                      ___________________

                                           ORDER
                                      ___________________

              Transgender Women Athletes, National Women's Law Center and 51

        Additional Organizations; Current and Former Professional, Olympic and

        International Athletes in Women’s Sports, The National Women’s Soccer League

        Players Association, The Women’s Sports Foundation, and Athlete Ally, American

        Academy of Pediatrics, American Medical Association, American Medical

        Women's Association, Endocrine Society, GLMA, and World Professional

        Association for Transgender Health have filed amicus curiae briefs with the

        consent of the parties.

              The court accepts the briefs for filing.

                                                For the Court--By Direction

                                                /s/ Patricia S. Connor, Clerk
